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AO93 Search and Seizure Warrant
UNITED STATES DISTRICT COURT
for the
District of Arizona
In the Matter of the Search of: CaseNo, 2279368 MB

Starla Shaffer and Vanessa Gonzalez’ residence, a tan colored
structure with attached garage, located at 2150 East Jackson
Circle, Mohave Valley, Arizona 86440, which is a single
family dwelling located on the Fort Mojave Indian
Reservation, with GPS coordinates 34.85203, -114.58411

ELECTRONICALLY ISSUED SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of Arizona:

As further described in Attachment A.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

As set forth in Attachment B.

. 10/6/2022
YOU ARE COMMANDED to execute this warrant on or before (not to exceed 14 days)

( in the daytime 6:00 a.m. to 10:00 p.m. C1 at any time in the day or night as I find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on

criminal duty in the District of Arizona.

(11 find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or
seized D for _30 days (not to exceed 30) C1 until, the facts justifying, the later specific date of

9/22/2022 @9:36am F \ Wt
Date and time issued:

Judge's signature

 

City and state: Phoenix, Arizona Honorable Eileen 8. Willett, U.S. Magistrate Judge
Printed name and title

 
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ATTACHMENT A

DESCRIPTION OF PROPERTY TO BE SEARCHED
Starla Shaffer and Vanessa Gonzalez’ residence, a tan colored structure with
attached garage, located at 2150 East Jackson Circle, Mohave Valley, Arizona
86440, which is a single family dwelling located on the Fort Mojave Indian
Reservation, with GPS coordinates 34.85203, -114.58411. The property to be

searched includes anything within the curtilage, to include porch, sheds, vehicles,

and persons on the premises likely to possess any of the items to be searched for as
included in Attachment B.

 

 

 

 
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1 ATTACHMENT B — THINGS TO BE SEARCHED FOR AND SEIZED
? 1. Any DNA evidence and/or evidence of child abuse, including, but not limited
to, dried blood or bodily fluids and/or substances that appear to be blood or bodily fluids,
which may be on the floors, walls, clothing, bedding, furniture, or items used to clean up
° same (such as cloth towels, washcloths, or paper towels).
6 2. Any items of evidence that may be readily used as a disciplinary objects,
’ including belts, shoes, and hangers and/or that otherwise appear to be items consistent with
pattern injuries and bruising on the body of Jane Doe 1.
10 3. Any unlawfully possessed controlled substances, including marijuana,
4 Tetrahhydrocannabinol (THC), methamphetamine, or substances appearing to be
methamphetamine (e.g., white crystalline substances).
. 4, Any drug paraphernalia for storing, smoking, ingesting, and/or using
14 unlawfully possessed controlled substances (e.g., marijuana), including baggies, pipes, and
other smoking devices.
. 5. Any products/items containing Cannabidiol (CBD), CBD Oil, CBD infused
17 drinks, CBD infused food, and items of the like.
8 6. Any Closed-Circuit Television (CCTV) recording devices to include baby
19 monitors, surveillance cameras, recording devices, digital voice recorders, digital
20 recording devices, cellular telephones.
7. Any cellular telephones phones belonging to S.S. and/or V.G. (If recovered,
a1 separate search warrants will be sought to search such devices.)
22 8. Any and all medical records pertaining to Jane Doe 1.
23 9. Indicia of ownership, occupancy, and/or use of the residence, including such
24 things as mail, (e.g., bills) that may be addressed to the occupant(s); driver’s licenses and/or
25 | identification cards ; and photographs of the owners and/or occupants of the structure.
26 10. Photographs and measurements of the residence and things located therein
27) and/or seized.
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AO 106 Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
District of Arizona

In the Matter of the Search of CaseNo, 22-9368 MB
Starla Shaffer and Vanessa Gonzalez’ residence, a tan colored
structure with attached garage, located at 2150 East Jackson
Circle, Mohave Valley, Arizona 86440, which is a single
family dwelling located on the Fort Mojave Indian
Reservation, with GPS coordinates 34.85203, -114.58411

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property:

As further described in Attachment A
located in the District of Arizona, there is now concealed:
As set forth in Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is:
h evidence of a crime;
& contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

 

 

Code/Section Offense Description
18 U.S.C. §§ 1153 and Child Abuse
Arizona Revised Statutes 13-

3623

 

The application is based on these facts:
See attached Affidavit of Special Agent

i Continued on the attached sheet.
C Delayed notice of _30_ days (give exact ending date if more on er 30dayg7_ C(‘#*@ is requested
a sheet.

under 18 U.S.C. § 3103a, the basis oe) LP
aA ABON © ‘Si ron K KS Sexton

 

si
SH AARON SEXTON Applic cant's Signature

© XTO Date: 2022.09.22 . .
08:43:03 -07'00' Donald Ferreira, FBI Special Agent
Printed name and title

Sworn to telephonically. Ew Wt

9/22/2022 @9:36am Judge's signature

Honorable Eileen S. Willett, U.S. Magistrate Judge
City and state: Phoenix, Arizona Printed name and title

Date:

 

 

 
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ATTACHMENT A

DESCRIPTION OF PROPERTY TO BE SEARCHED
Starla Shaffer and Vanessa Gonzalez’ residence, a tan colored structure with
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searched includes anything within the curtilage, to include porch, sheds, vehicles,

and persons on the premises likely to possess any of the items to be searched for as
included in Attachment B.

 

 

 
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ATTACHMENT B — THINGS TO BE SEARCHED FOR AND SEIZED

1, Any DNA evidence and/or evidence of child abuse, including, but not limited
to, dried blood or bodily fluids and/or substances that appear to be blood or bodily fluids,
which may be on the floors, walls, clothing, bedding, furniture, or items used to clean up
same (such as cloth towels, washcloths, or paper towels).

2. Any items of evidence that may be readily used as a disciplinary objects,
including belts, shoes, and hangers and/or that otherwise appear to be items consistent with
pattern injuries and bruising on the body of Jane Doe 1.

3. Any unlawfully possessed controlled substances, including marijuana,
Tetrahhydrocannabinol (THC), methamphetamine, or substances appearing to be
methamphetamine (e.g., white crystalline substances),

4, Any drug paraphernalia for storing, smoking, ingesting, and/or using
unlawfully possessed controlled substances (e.g., marijuana), including baggies, pipes, and
other smoking devices.

5. Any products/items containing Cannabidiol (CBD), CBD Oil, CBD infused
drinks, CBD infused food, and items of the like.

6. Any Closed-Circuit Television (CCTV) recording devices to include baby
monitors, surveillance cameras, recording devices, digital voice recorders, digital
recording devices, cellular telephones.

7. Any cellular telephones phones belonging to S.S. and/or V.G. (If recovered,

separate search warrants will be sought to search such devices.)

8. Any and all medical records pertaining to Jane Doe 1.

9, Indicia of ownership, occupancy, and/or use of the residence, including such
things as mail, (e.g., bills) that may be addressed to the occupant(s); driver’s licenses and/or
identification cards; and photographs of the owners and/or occupants of the structure.

10. Photographs and measurements of the residence and things located therein

and/or seized,

 

 
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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

ELECTRONICALLY SUBMITTED AFFIDAVIT

I, FBI Special Agent Donald Ferreira, state under oath as follows:

1. I am employed as a Special Agent (SA) of the Federal Bureau of
Investigation (FBI), and have been so employed since September 2015. I have
more than 7 years of experience as a sworn federal law enforcement officer. J am
currently assigned to the FBI Phoenix Division, Lake Havasu City Resident Agency,
and charged with the investigation of crimes occurring in (among other places)
Mohave County, Arizona. My duties include the investigation of violent crimes
occurring within Indian Country as well as child abuse/ neglect crimes within the
District of Arizona.

2. The information contained in this affidavit is based upon my personal
knowledge, training, experience, as well as information provided by other law
enforcement officers and witnesses including those listed herein. I have not
included every fact known to me concerning this investigation. Ihave set forth only
the facts necessary to establish probable cause to support issuance of the requested

search warrant.

 
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3. This affidavit is in support of an application for a search warrant to
search the residence of Starla Shaffer hereinafter (S.S.), and Vanessa Gonzalez
(V.G.), a tan colored structure with attached garage, located at 2150 East Jackson
Circle, Mohave Valley, Arizona 86440, which is a single family dwelling located on
the Fort Mojave Indian Reservation, with GPS coordinates 34.85203, -1 14.58411.
The property to be searched includes the residence, (inside and out), porch, sheds,
curtilage, and vehicles located on the residence as set forth in Attachment A. I will
be seeking evidence of violations of Title 18, United States Code, §1153 and Arizona
Revised Statutes (ARS) § 13-3623 Child Abuse. The items to be searched for and
seized are particularly described in Attachment B.

Background/Introduction

4. This case involves the child abuse of a 3-year-old female child, Jane
Doe 1, by her guardian, S.S., and S.S.’s domestic partner, V.G., in violation of Title
18, United States Code, §1153 and Arizona Revised Statutes (ARS) § 13-3623.

5. In approximately January 2022, S.S. — who is in an adult female (age
33) became the Fort Mojave Tribal Court legal guardian of Jane Doe 1, a minor (age
3), and Jane Doe 2, a minor (age 15). On September 20, 2022, Emergency Medical
Services (EMS) responded to 2150 East Jackson Circle, Mohave Valley 86440,
regarding a call of a child, later identified as 3-year-old Jane Doe 1 who had seizure
related medical issues at her home address of 2150 East Jackson Circle, Mohave

Valley, Arizona 86440. Upon EMS taking Jane Doe 1 to the Valley View Medical
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Center (VVMC), medical personnel observed multiple bruises on her face, legs,
back, and severe bruising on her buttocks. Valley View Medical Personnel contacted
the Fort Mojave Tribal Police Department (FMTPD) to report suspected child abuse.
Based on Jane Doe’s injuries, she was flown to Sunrise Hospital located in Las
Vegas, Nevada for advanced medical treatment. Upon arrival, after a complete
medical evaluation, it was discovered that Jane Doe 1 had multiple skull fractures,
retinal tearing, and bruising over multiple parts of her body. Upon initial separate
interviews with S.S and V.G., both S.S. and V.G. admitted to disciplining Jane Doe
1 by spanking, slapping, and swatting Jane Doe 1, both when Jane Doe 1 misbehaved
as well as when she was having seizures.
Investigation

6. On September 20, 2022, at approximately 9:01 P.M., EMS responded
to the known residence of S.S. and V.G. located at 2150 East Jackson Circle, Mohave
Valley 86440. S.S. had contacted EMS after Jane Doe 1 had suffered a seizure and
appeared to have medical complications resulting from that seizure. Upon arrival at
the residence, EMS workers transported Jane Doe 1 to the Valley View Medical
Center (VVMC) located at 5300 Arizona 95, Fort Mohave, Arizona 86426 for
further medical care. Upon Jane Doe 1’s s arrival at VVMC, it was discovered that
she had multiple bruises on her face, legs, back, and severe bruising on her buttocks.
Additionally, WVMC staff determined that Jane Doe 1 tested positive for

Tetrahydrocannabinol (THC) a known compound in marijuana. Due to the severity
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of the injuries, and testing positive for THC, VVMC personnel contacted officers
from the Fort Mojave Tribal Police Department after suspecting possible child
abuse.

7, Fort Mojave Tribal Police Department Officer Anthony Diaz responded
to the VVMC and photographed the injuries of Jane Doe 1.

8. Based on the medical condition of Jane Doe 1, VVWMC made the
determination that she needed to be transported via helicopter to Sunrise hospital
located at 3186 South Maryland Parkway, Las Vegas, Nevada 89109.

9. Shortly after, FMTPD Officer Bellarmino Diaz (B. Diaz) responded to
the hospital and conducted separate interviews of S.S. and V.G. (Note: Officers
from the FMTPD know S.S. and V.G. from the community as domestic partners.)
Officer B. Diaz learned that S.S. lived with her domestic partner V.G., her nieces
Jane Doe 1, and Jane Doe 2. In approximately January 2022, S.S. became the legal
guardian of Jane Does 1 and 2 and had remained their legal guardian until present.
V.G. was not the legal guardian of either girls.

10. Both minor children lived with S.S. and V.G. at their residence since
approximately January 2022 to present. As of September 21, 2022, Jane Doe 1 and
2 have been removed from the home and temporarily placed in the custody of the

Fort Mojave Tribal Social Services.

 

 
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11. FMTPD Officer B. Diaz conducted an interview of S.S. During the
interview, S.S. was read her Miranda Rights and S.S. agreed to speak with Officer
B. Diaz. S.S. advised Officer B. Diaz that Jane Doe 1 recently began having seizures.
S.S. advised that both she and V.G. slapped, and swatted Jane Doe 1 while she was
having seizures. S.S. admitted to striking, spanking, and swatting Jane Doe | on her
buttocks as well as her face, back, and body. S.S. admitted to swatting Jane Doe 1
with her hand and her sandal. S.S. advised that while Jane Doe 1 had a seizure, S.S.
would slap Jane Doe 1 on her face and back, as well as pinch and bite her. S.S.
advised Officer B. Diaz that she had a baby monitor camera in Jane Doe 1’s room
as well as C.D.’s room and the camera was linked to her cell phone. S.S. had seen
V.G. yell at Jane Doe 1 on the baby monitor while S.S. was at work.

12. Officer B. Diaz conducted an interview of V.G. During her interview,
V.G. was read her Miranda Rights and V.G. agreed to speak with Officer B. Diaz.
V.G. advised Officer B. Diaz that she had disciplined Jane Doe 1 on multiple
occasions with her hand by striking Jane Doe 1 on her butt and back. She also
admitted that she had pushed on Jane Doe 1’s chest, slapped her back, and slapped
her face to get her to wake up. During the interview, V.G. admitted to giving Jane
Doe 1 CBD oil in liquid form because she heard it helped with seizures. V.G. also
admitted to slapping Jane Doe 1 on the face, taking Jane Doe 1 to the bathtub,

bending Jane Doe 1 over, and spanking Jane Doe 1’s butt. V.G. advised that she

slapped Jane Doe 1’s face until it began to bruise at which point, she began slapping
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her butt. V.G. advised that she had also witnessed S.S. discipline Jane Doe 1 ona
baby monitor camera located at their residence.

13. V.G. made statements to Officer B. Diaz that she watched and recorded
videos of Jane Doe 1 when she was misbehaving. V.G. stated that she had a video
recording of her spanking Jane Doe 1 because it was done in front of the camera.

14. BothS.S. and V.G. admitted to Officer B. Diaz that they provided Jane
Doe 1 with Cannabinol Oil (CBD) in liquid form. Both S.S. and V.G. admitted that
they were the two primary caregivers for Jane Doe 1 and that no one else was
responsible for her care. Both S8.S. and V.G. admitted that the abuse committed
against Jane Doe 1 was committed at their home, the subject premises.

15. Based on my training, education, and experience, I am aware that some
CBD infused products, including oils, creams, and liquids can be rubbed on the body
or inhaled and are typically used to treat chronic pain. Some of the infused CBD
products may, or may not contain Tetrahydrocannabinol (THC).

16. Based on my training, education, and experience, I am aware that THC
is the principal psychoactive constituent of cannabis and a known lipid found in
cannabis. THC is an active constituent in the drug Marijuana. Cannabis as a plant, is
considered a Schedule 1 narcotic and is considered Federally illegal.

17. Both S.S. and V.G. admitted to Officer B. Diaz that V.G. smoked

marijuana in the home. V.G. admitted to Officer B. Diaz that she smoked Marijuana

 
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approximately three times a day and even did so while Jane Doe 1 was having a
seizure to help herself decompress.

18. On September 21, 2022, Officer B. Diaz contacted Federal Bureau of
Investigation (FBI) Special Agent (SA) Kemper Mills regarding the interviews and
concerning statements made by both S.S. and V.G. Officer B. Diaz requested the
assistance of the FBI.

19. On September 21, 2022, I was provided with multiple photos of Jane
Doe 1 taken by Officer A. Diaz the night before. In discussing this matter with
various medical personnel and viewing the photographs of Jane Doe 1’s injuries, I
understand that the abuse disclosed by the two caregivers do not explain the totality
of the victim’s injuries, and the injuries remain highly concerning for non-accidental,
inflicted trauma.

20. During the investigation it was learned that upon EMS arriving and
advising S.S. that Jane Doe 1 needed to be transported to VVMC, S.S. advised
paramedics that she needed to go back inside the home to retrieve her phone before
Jane Doe 1 could be escorted. This was despite the emergency condition of Jane

Doe lI.

 
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21. Based on my training, education, and experience ] am aware that
cellular telephones can be used to communicate and send Short Message Service
(SMS) text messages to another individual. Those text messages could contain
valuable time stamps, data, metadata, and other valuable digital information that
contain indicia of a criminal act.

22. Based on my training, education, and experience, it is common for
caregivers, especially those in a close personal relationship, to communicate about
the care and condition of their children, as well as incidents involving their children,
via telephone calls and text messages. It is particularly common for these persons
to communicate about their children after the child suffers an injury, and/or where
one or more of the persons has been interviewed regarding possible abuse of the
child. Given the unexplained and suspicious injuries to Jane Doe 1, 8.S. and V.G’s
roles as primary caregivers to the child, and S.S. retrieving her cell phone before
going to the hospital, I submit there is probable cause to believe that evidence of the
subject crime may be found within the phones of S.S. and V.G.

Conclusion

23. Based upon my training, experience, and observations, I submit that
there is probable cause to believe that there is evidence of violations of federal law,
specifically Title 18, United States Code, § 1153 and ARS § 13-3623 and that the

evidence of such violations is contained within the residence of S.S. and V.G.

located at 2150 East Jackson Circle, Mohave Valley, Arizona 86440 and within the
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phones of S.S. and V.G. Based on the aforementioned factual information, I
respectfully request that a warrant be issued for the search of the location described
in Attachment A, for the items further described in Attachment B.

Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that
the foregoing is true and correct.

Executed on: f WEE.

Donald Ferreirf
Special Agent, FBI

Sworn by Telephone

9/22/2022 @9:36am Wath
Date/Time: CA

Honorable Eileen S. Willett
United States Magistrate Judge

 

 
